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                                  UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                             O RLANDO D IVISION

    JERRY GUSTIN, ELDA GARCIA,
    and WESLEY WELLING,

                                    Plaintiffs,

    -vs-                                                        Case No. 6:08-cv-57-Orl-31DAB

    PAUL A. HOFFMAN and EDWARD S.
    DIGGES, JR.,

                            Defendant.
    ______________________________________

                                                  ORDER

           This cause came before the Court upon consideration of Plaintiffs’ Motion for Class

    Certification (Doc. 72), Defendants’ responses in opposition thereto (Doc. 85 and 89), Defendants’

    Motion for Leave to Supplement the Record (Doc. 94) and Plaintiffs’ response in opposition

    thereto (Doc. 95).

    I. Background

           In their Third Amended Complaint, Plaintiffs allege that the Defendants, Paul Hoffman

    (“Hoffman”) and Edward Digges (“Digges”), violated Section 10(b) of the 1934 Securities and

    Exchange Act (the “1934 Act”) and Rule 10b-51 by, inter alia, knowingly making false statements




           1
               See 15 U.S.C. § 78j and 17 C.F.R. § 240.10b-5, respectively.
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    of material fact or omissions which Plaintiffs relied upon in making substantial investments in

    entities controlled by the Defendants.2

           The basis for this putative class action is also the subject of three other actions which have

    come before the Court.3 Indeed, the Defendants’ entities were placed into receivership by the

    Securities and Exchange Commission on February 2, 2006, and a receiver, James D. Silver, was

    appointed by the Court on February 15, 2006, to marshal the assets of the Defendants’ entities and

    distribute same to the investors. In the last two years, the Receiver has brought separate actions

    against Digges and Hoffman. See Silver v. Digges, et al., Case No. 6:06-cv-290-Orl-31DJK;

    Silver v. Hoffman, Case No. 6:07-cv-1670-Orl031DAB. Both of these cases resulted in

    settlements favorable to the investors. The Plaintiffs filed the instant tag-along action against

    Digges and Hoffman on January 14, 2008.

           The common thread throughout these cases is that between April 2003 and February 2006,

    the Defendants, or the entities they allegedly controlled, engaged in a fraudulent scheme which

    raised more than $20 million from approximately 300 investors. Specifically, the Defendants’

    entities offered investments in point-of-sale debit and credit card terminals. While investors were

    ostensibly given the opportunity to purchase the terminals outright, all of the investors appear to

    have entered into lease-back agreements with one or more of the Defendants’ entities. Once an

    investor ‘purchased’ one or more terminals and entered into the lease-back agreement, the



           2
            See 15 U.S.C. 78t (providing for joint and several liability for individuals exercising control
    over others who are liable for certain securities violations).
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            SEC v. Digges, et al., Case No. 6:06-cv-137-Orl31DAB; Silver v. Digges, et al., Case No.
    6:06-cv-290-Orl-31DJK; and Silver v. Hoffman, Case No. 6:07-cv-1670-Orl031DAB.

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    Defendants’ entities were supposed to place the terminals at retail establishments. Investors were

    promised a monthly return of $50 for each terminal they owned, or a twelve percent (12%) annual

    return over a five (5) year period. These monthly returns were to be paid out of the transactions

    fees earned by the terminals. The investors, however, had no control over the leased terminals and

    the transaction fees were sent to the Defendants’ entities which, in turn, were supposed to make

    the $50 monthly lease payments to each investor. After the five year lease period, the Defendants’

    entities were obligated to repurchase the terminals from the investors at the original purchase

    price.

             In the instant action, Plaintiffs allege that the Defendants made a number of

    misrepresentations4 to the investors in connection with the foregoing investments. These

    misrepresentations include the fact that the monthly lease payments were guaranteed by a six-

    month reserve fund and that the Defendants’ entities maintained a sinking fund to pay for the

    eventual repurchase of the terminals after the five (5) year lease period. According to Plaintiffs,

    there were no such reserve or sinking funds. Many, if not most, of the terminals were never placed

    with merchants and even those that were did not generate sufficient funds to make the lease

    payments. Instead, the Defendants’ entities allegedly used recent investors’ purchases to pay the

    monthly lease payments due to previous investors – a characteristic common to pyramid or Ponzi

    schemes. Eventually, the Defendants’ entities stopped making the monthly payments. When




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            It is unclear, however, from the Third Amended Complaint exactly which representations
    were oral or written, the date of each representation, who made each representation, and to whom each
    representation was made.

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    investors started making demands for their lease payments or for the repurchase of their terminals,

    the scheme unraveled.

    II. Analysis

            Class actions predicated on violations of Section 10(b) of the 1934 Act and Rule 10b-5 are

    subject to the Private Securities and Litigation Reform Act (the “PSLRA”), codified at 15 U.S.C. §

    78u-4 and 78u-5. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 127 S. Ct. 2499 (2007).

    In addition to its heightened pleading requirements, the PSLRA requires that each plaintiff seeking

    to serve as a representative in a class action must provide the Court with a personally sworn

    certificate which: (1) states that the plaintiff has reviewed the complaint and authorized its filing;

    (2) states that the plaintiff did not purchase the security that is at issue in the litigation at the

    direction of plaintiff’s counsel; (3) states that the plaintiff is willing to serve as a class

    representative; (4) sets forth all the plaintiff’s transactions in the security that is at issue in the

    ligation for the period specified in the complaint; (5) identifies any other securities class actions

    filed in the previous three years in which the plaintiff sought to serve as a class representative; and

    (6) states that the plaintiff will not accept any payment for serving as a class representative other

    than his or her own pro rata share of any recovery, except as may be ordered or approved by the

    Court. 15 U.S.C. § 78u-4(a)(2)(A). Furthermore, each putative class representative’s sworn

    certificate must be filed with the Court contemporaneously with the filing of a complaint. Id.

            Notwithstanding the fact that the Third Amended Complaint is currently in its fourth

    rendition, as of October 20, 2008, not one of the putative class representatives identified in any




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    version of the Complaint ever filed the required sworn certificate with the Court.5 As 15 U.S.C. §

    78u-4(a)(2) makes clear, the required sworn certificate must be filed contemporaneously with the

    complaint – not some ten months after the filing of a complaint. Furthermore, at least one putative

    class representative never even saw any version of the complaint before it was filed with the Court

    (Doc. 94, Ex. A). While Plaintiffs’ designated lead counsel has apparently never been appointed

    lead counsel in any securities class action, he and the putative class representatives are not excused

    from complying with the basic strictures of the PSLRA.

           In addition to Plaintiffs’ failure to comply with the PSLRA, the Court has serious concerns

    regarding the lack of pre-certification discovery conducted in this case. While the Court’s initial

    scheduling order did not establish separate discovery deadlines for class certification and the

    merits, additional discovery concerning class certification appears to be necessary.

           In light of these critical procedural deficiencies and lack of discovery, Plaintiffs’ Motion

    for Class Certification is clearly premature and will accordingly be denied. The Court will also

    dismiss the Third Amended Complaint so as to give Plaintiffs one final opportunity to prepare a

    complaint which complies with not only 15 U.S.C. § 78u-4(a)(2)(A), but also the PSLRA’s

    heightened pleading requirements.

    III. Conclusion

           Based on the foregoing, it is ORDERED that Plaintiffs’ Motion for Class Certification

    (Doc. 72) is DENIED without prejudice. Defendants’ Motion for Leave to Supplement the




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             On October 24, 2008, nearly ten months after the filing of the initial Complaint, one putative
    class representative filed the required sworn certificate (Doc. 96).

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    Record (Doc. 94) is DENIED as MOOT. Plaintiffs’ Third Amended Complaint (Doc. 75) is

    DISMISSED sua sponte for failure to comply with the PSLRA.

           Plaintiffs shall have one final opportunity to file an amended complaint which has been

    reviewed, authorized, and is accompanied by sworn certificates from each putative class

    representative. Plaintiffs’ amended complaint must comply with all other requirements imposed

    by the PSLRA, including the PSLRA’s heightened pleading requirements.

           The parties will have 120 days from the entry of this Order in which to conduct additional

    discovery regarding the propriety of class certification. Plaintiffs’ amended complaint shall be

    filed with the Court by Friday, December 5, 2008. If applicable, Plaintiffs’ new motion for class

    certification shall be due on Friday, February 27, 2009. Defendants’ response in opposition will be

    due on Friday, March 20, 2009.

           DONE and ORDERED in Chambers, Orlando, Florida on October 28, 2008.


    Copies furnished to:


    Counsel of Record
    Unrepresented Party




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